    Case 4:24-cv-00449-RGE-WPK             Document 28       Filed 02/21/25      Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION


  PRESIDENT DONALD J. TRUMP, an
  individual, REPRESENTATIVE
  MARIANNETTE MILLER-MEEKS, an                           Case No. 4:24-cv-00449-RGE-WPK
  individual, and FORMER STATE SENATOR
  BRADLEY ZAUN, an individual,
                                                     DES MOINES REGISTER & TRIBUNE
          Plaintiffs,                                CO. AND GANNETT CO., INC.’S
                                                     MOTION TO DISMISS
  vs.
                                                     ORAL ARGUMENT REQUESTED
  J. ANN SELZER, and individual, SELZER &
  COMPANY, DES MOINES REGISTER AND
  TRIBUNE COMPANY, and GANNETT CO.,
  INC.,

          Defendants.


        Defendants Des Moines Register & Tribune Co. and Gannett Co., Inc. (collectively “Press

Defendants”), by and through their undersigned counsel, move to dismiss Plaintiffs’ Amended

Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). In support of this Motion, Press

Defendants submit their Brief in Support, contemporaneously filed herewith and appended as an

attachment to Press Defendants’ Motion for Leave to File Overlength Brief.

        For the reasons stated in Press Defendants’ Brief in Support of their Motion to Dismiss,

the Court should dismiss the Amended Complaint with prejudice.

        Press Defendants respectfully request the opportunity to be heard at oral argument on this

Motion.

        WHEREFORE, Defendants Des Moines Register & Tribune Co. and Gannett Co., Inc.

respectfully request that this Court dismiss Plaintiffs’ Amended Complaint pursuant to Federal

Rule of Civil Procedure 12(b)(6).


                                                1
   Case 4:24-cv-00449-RGE-WPK   Document 28    Filed 02/21/25   Page 2 of 3




Dated February 21, 2025          FAEGRE DRINKER BIDDLE & REATH LLP

                                 /s/ Nick Klinefeldt
                                 Nicholas A. Klinefeldt, AT0008771
                                 David Yoshimura, AT0012422
                                 801 Grand Avenue, 33rd Floor
                                 Des Moines, IA, 50309
                                 Telephone: (515) 248-9000
                                 Fax: (515) 248-9010
                                 Email: Nick.Klinefeldt@Faegredrinker.com
                                        David.Yoshimura@Faegredrinker.com

                                 ATTORNEYS FOR DEFENDANTS DES
                                 MOINES REGISTER AND TRIBUNE
                                 COMPANY AND GANNETT CO., INC.




                                   2
    Case 4:24-cv-00449-RGE-WPK              Document 28       Filed 02/21/25      Page 3 of 3




                                 CERTIFICATE OF SERVICE
       I certify that on February 21, 2025, I electronically filed the foregoing with the Clerk of

Court using the ECF system, which will send notification of such filing to all parties participating

in the Court’s electronic filing system.



                                                     /s/ Elizabeth Collins
